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                                   EXHIBIT A
         Compensation By Category – Fifth Monthly Compensation Period


                     Project Category                         Total Hours   Total Fees

  B110 Case Administration                                          6.60       $3,743.50

  B140 Relief from Stay/Adequate Protection Proceedings             0.80           $399.00

  B150 Meetings/Communications with Committee and/or
                                                                    1.80       $1,485.00
  Creditors

  B165 Retention Applications (Others)                              0.20           $165.00

  B170 Fee Applications (MJ)                                        5.70       $3,270.50

  B175 Fee Applications (Others)                                    2.40           $988.00

  B185 Assumption/Rejection of Leases and Contracts                 0.90           $438.00

  B260 Board of Directors/Corporate Governance Matters              3.50       $1,586.00

  B310 Claims Administration and Objections                         1.10           $600.50

  B320 Plan and Disclosure Statement                                3.70       $2,745.00

  B430A Court Hearings: Attendance and Preparation                  1.10           $869.00

                                                     Totals        27.80      $16,289.50




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               Timekeeper Summary – Fifth Monthly Compensation Period

             Timekeeper               Position                Rate     Hours         Amount

                             Member of the Delaware
                             Bar since 2008; Partner in
             Eric J. Monzo                                   $825.00       5.90       $4,867.50
                             Bankruptcy Department
                             since 2014

                             Member of the Delaware
                             Bar since 2005; Partner in
        Brya M. Keilson                                      $790.00       8.10       $6,399.00
                             Bankruptcy Department
                             since 2019

                             Member of the Delaware
                             Bar since 2004; Partner in
     James J. Gallagher II                                   $530.00       0.10             $53.00
                             Real Estate Department
                             since 1989.

                             Member of the Delaware
                             Bar since 2017; Associate
         Jason S. Levin                                      $465.00       0.60            $279.00
                             in Bankruptcy Department
                             since 2020

                             Member of the Delaware
                             Bar since 2023; Associate
         Siena B. Cerra                                      $390.00       3.10       $1,209.00
                             in Bankruptcy Department
                             since 2023

                             Paralegal in Bankruptcy
       Stephanie A. Lisko                                    $365.00       3.20       $1,168.00
                             Department since 2020

                             Paralegal in Bankruptcy
        Douglas J. Depta                                     $365.00       4.40       $1,606.00
                             Department since 2020

                             Paralegal in Real Estate
         Ellen M. Carey                                      $295.00       2.40            $708.00
                             Department since 2009

                                   Totals                                  27.80     $16,289.50
                              Blended Rate $585.95




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                                           500 Delaware Avenue, Suite 1500
                                                    P. O. Box 2306
                                           Wilmington, Delaware 19899-2306
                                                    (302) 888-6800
                                               Facsimile (302) 571-1750

                                              Federal Tax I.D. XX-XXXXXXX




 Lordstown Motors Corp. Official Committee of Equity Security
 Holders
 Committee Chairperson: Andrew Sole                                                                 February 27, 2024
 andrewsole@ecvlp.com                                                                                 Invoice 600512
 Esopus Creek Value Series Fund LP – Series “A”
 81 Newtown Ln. #307
 East Hampton, NY 11937



 Matter Name:            Lordstown Motor Corp., et al.
 Matter Number:          142570-0001
 Attorney:               Eric J. Monzo




For Professional Services through January 31, 2024

                  Fees                                           $16,289.50
                  Disbursements                                    $390.93

                  Total Charges                                  $16,680.43


                                                         Fee Recap

                                                                          Hours          Rate/Hours          Amount
 James J. Gallagher II                    Partner                           0.10             530.00            53.00
 Brya M. Keilson                          Partner                           8.10             790.00         6,399.00
 Eric J. Monzo                            Partner                           5.90             825.00         4,867.50
 Siena B. Cerra                           Associate                         3.10             390.00         1,209.00
 Jason S. Levin                           Associate                         0.60             465.00           279.00
 Ellen M. Carey                           Paralegal                         2.40             295.00           708.00
 Douglas J. Depta                         Paralegal                         4.40             365.00         1,606.00
 Stephanie A. Lisko                       Paralegal                         3.20             365.00         1,168.00
                                          Totals                           27.80                           16,289.50
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                                                  Services by Task Code

                                                                              Hours                        Amount
                   B110        Case Administration                             6.60                        3,743.50
                   B140        Relief from Stay/Adequate Protection            0.80                         399.00
                               Proceedings
                   B150        Meetings/Communications with                    1.80                        1,485.00
                               Committee and/or Creditors
                   B165        Retention Applications (Others)                 0.20                         165.00
                   B170        Fee Applications (MJ)                           5.70                        3,270.50
                   B175        Fee Applications (Others)                       2.40                         988.00
                   B185        Assumption/Rejection of Leases and              0.90                         438.00
                               Contracts
                   B260        Board of Directors/Corporate                    3.50                        1,586.00
                               Governance Matters
                   B310        Claims Administration and Objections            1.10                         600.50
                   B320        Plan and Disclosure Statement                   3.70                        2,745.00
                   B430A       Court Hearings: Attendance and                  1.10                         869.00
                               Preparation
                                         Totals                               27.80                      $16,289.50



                                                           Fees

Date        Atty           Description                                                Hours       Rate     Amount

B110 Case Administration
01/02/24   SAL        Review relevant pleadings filed, update critical dates, and      0.30   365.00         109.50
                      update case calendar and folder.
01/04/24   SAL        Review relevant pleadings filed and update case folder.          0.20   365.00          73.00
01/05/24   SAL        Review relevant pleadings filed and update case folder.          0.20   365.00          73.00
01/08/24   SAL        Review agenda for January 10 hearing, register                   0.20   365.00          73.00
                      appearances and email to E. Monzo and B. Keilson re
                      same, and update critical dates, case calendar and folder.
01/08/24   SBC        Review relevant pleadings for hearing scheduled January          0.40   390.00         156.00
                      10.
01/08/24   EJM        Review hearing agenda.                                           0.20   825.00         165.00
01/09/24   SAL        Review relevant pleadings filed, update critical dates, and      0.20   365.00          73.00
                      update case calendar and folder.
01/10/24   SAL        Review relevant pleadings filed and update case folder.          0.20   365.00          73.00
01/10/24   SAL        Review minutes of proceedings and emails requesting              0.20   365.00          73.00
                      January 10 transcript.
01/11/24   SAL        Review relevant pleadings filed and update case folder.          0.10   365.00          36.50
01/12/24   SAL        Review January 10 hearing transcript, circulate to co-           0.20   365.00          73.00
                      counsel, and update case folders.
01/12/24   DJD        Review relevant pleadings and update case folder.                0.10   365.00          36.50
01/16/24   SAL        Review relevant pleadings filed, update critical dates,and       0.10   365.00          36.50
                      update case calendar and folder.
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Date        Atty        Description                                                     Hours     Rate   Amount
01/18/24    SAL         Review relevant pleadings filed and update case folder.          0.10   365.00      36.50
01/19/24    BMK         Emails with E. Monzo and D. Depta regarding updates              1.60   790.00   1,264.00
                        (.5); review recently filed pleadings (1.1).
01/22/24    SAL         Review relevant pleadings filed, update critical dates, and      0.20   365.00     73.00
                        update case calendar and folder.
01/22/24    SAL         Review agenda cancelling January 25 hearing and update           0.10   365.00     36.50
                        critical dates, case calendar and case folder.
01/24/24    SAL         Review relevant pleadings filed, update critical dates, and      0.30   365.00    109.50
                        update case calendar and folder.
01/30/24    SAL         Review relevant pleadings filed, update critical dates, and      0.20   365.00     73.00
                        update case calendar and folder.
01/30/24    BMK         Review recently filed pleadings.                                 1.30   790.00   1,027.00
01/31/24    SAL         Review relevant pleadings filed, update critical dates, and      0.20   365.00      73.00
                        update case calendar and folder.

                        Task Code Subtotal                                               6.60            3,743.50

B140 Relief from Stay/Adequate Protection Proceedings
01/09/24     EJM       Review director and officer stipulation re advancement.           0.20   825.00    165.00
01/10/24     SBC       Review Revised Order Granting Relief from the Automatic           0.60   390.00    234.00
                       Stay.

                        Task Code Subtotal                                               0.80             399.00

B150 Meetings/Communications with Committee and/or Creditors
01/04/24   EJM     Emails with co-counsel and clients re strategy and                    0.10   825.00     82.50
                   meeting.
01/11/24   EJM     Emails with client and co-counsel re meeting.                         0.10   825.00     82.50
01/12/24   EJM     Attend committee call and update.                                     0.70   825.00    577.50
01/25/24   EJM     Emails with co-counsel and committee re case update                   0.40   825.00    330.00
                   and settlement proposals.
01/25/24   EJM     Emails re documents on settlement discussions and                     0.30   825.00    247.50
                   update to committee.
01/26/24   EJM     Emails with co-counsel and committee re case update.                  0.20   825.00    165.00

                        Task Code Subtotal                                               1.80            1,485.00

B165 Retention Applications (Others)
01/09/24   EJM        Review ordinary professionals report.                              0.20   825.00    165.00

                        Task Code Subtotal                                               0.20             165.00

B170 Fee Applications (MJ)
01/05/24   DJD         Draft CNO re third monthly application.                           0.30   365.00    109.50
01/05/24   DJD         Draft fourth monthly application.                                 0.40   365.00    146.00
01/05/24   DJD         Emails with E. Monzo, B. Keilson and A. Ciccone re Dec            0.20   365.00     73.00
                       and Jan estimates.
01/10/24   DJD         Review Dec invoice and email accounting re updates.               0.50   365.00    182.50
01/12/24   DJD         File CNO re third monthly application, emails with                0.40   365.00    146.00
                       accounting, update case folder, and update case
                       spreadsheet.
01/12/24   BMK         Emails with D. Depta regarding draft fee application and          0.60   790.00    474.00
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Date         Atty       Description                                                    Hours       Rate   Amount
                        CNO and review same.
01/17/24     DJD        Research and emails with accounting and debtors'                0.30   365.00      109.50
                        counsel re additional payments to second monthly
                        application.
01/18/24     DJD        Update fourth monthly application.                              0.40   365.00      146.00
01/18/24     BMK        Emails with D. Depta regarding draft fee application and        1.10   790.00      869.00
                        finalizing same (.4); review draft (.7).
01/31/24     DJD        Update fourth monthly application and email E. Monzo.           0.40   365.00      146.00
01/31/24     BMK        Emails with D. Depta regarding draft fee application (.3);      1.10   790.00      869.00
                        review draft (.8).

                         Task Code Subtotal                                             5.70              3,270.50

B175 Fee Applications (Others)
01/05/24   DJD         Draft CNO re BR third monthly application.                       0.30   365.00      109.50
01/10/24   SBC         Analyze Kurtzman Carson Fee Application.                         0.50   390.00      195.00
01/10/24   SBC         Analyze second quarterly statement regarding payments            0.30   390.00      117.00
                       made to ordinary course professionals.
01/12/24   DJD         File CNO re BR third monthly application, email B.               0.30   365.00      109.50
                       Silverberg, and update case folder.
01/12/24   EJM         Review fee applications.                                         0.20   825.00      165.00
01/31/24   DJD         Review BR fourth monthly application and draft notice and        0.80   365.00      292.00
                       COS.

                         Task Code Subtotal                                             2.40               988.00

B185 Assumption/Rejection of Leases and Contracts
01/04/24  SBC        Review CNO regarding debtors second omnibus motion.                0.40   390.00      156.00
01/05/24  EJM        Review order authorizing contract and lease rejection.             0.20   825.00      165.00
01/05/24  SBC        Review order authorizing rejection of certain unexpired            0.30   390.00      117.00
                     leases and executory contracts.

                         Task Code Subtotal                                             0.90               438.00

B260 Board of Directors/Corporate Governance Matters
01/18/24   EJM         Emails re request on corporate search of name inquiry.           0.20   825.00      165.00
01/18/24   EXC         Review emails between J. Gallagher and clients re                0.70   295.00      206.50
                       availability of names for new entity; research Secretary of
                       State website re name availability; responsive email to J.
                       Gallagher re same.
01/19/24   EJM         Update with corporate department re communications               0.20   825.00      165.00
                       with Division of Corporations.
01/19/24   EJM         Emails re corporate formalities.                                 0.20   825.00      165.00
01/19/24   JJG         Correspondence from and to E. Carey and E. Monzo re              0.10   530.00       53.00
                       name availability.
01/19/24   EXC         Review email from E. Monzo re new entity name                    0.50   295.00      147.50
                       preference; review Secretary of State website and forward
                       copy of confirmation that name is unavailable for
                       reservation; review email from J. Gallagher re same.
01/22/24   EJM         Emails with professionals re reorganized debtor name.            0.20   825.00      165.00
01/23/24   EJM         Emails with co-counsel re reorganization and entity              0.20   825.00      165.00
                       formation.
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 Date        Atty         Description                                                  Hours     Rate    Amount
 01/23/24    EXC          Review email from E. Monzo with request for search of         1.20   295.00     354.00
                          name availability; research Secretary of State Website;
                          responsive email to E. Monzo re same; review
                          email from E. Monzo re availability new entity name;
                          research Secretary of State website; responsive email to
                          E. Monzo; review email from E. Monzo requesting name
                          reservation; submit name reservation to Secretary of
                          State; email to E. Monzo transmitting receipt for same.
                          .

                          Task Code Subtotal                                            3.50             1,586.00

 B310 Claims Administration and Objections
 01/02/24   SBC        Analyze Order Approving second stipulation between               0.60   390.00     234.00
                       Debtors and U.S. Securities and Exchange Commission.
 01/09/24   SAL        Review claims register and internally circulate copy of          0.10   365.00      36.50
                       SEC claim.
 01/09/24   EJM        Review and assess SEC claim.                                     0.40   825.00     330.00

                          Task Code Subtotal                                            1.10              600.50

 B320 Plan and Disclosure Statement
 01/05/24   SAL        Email from E. Monzo re confirmation hearing and                  0.10   365.00      36.50
                       objection extensions and update critical dates and case
                       calendar.
 01/19/24   EJM        Review notice re confirmation hearing and emails with            0.20   825.00     165.00
                       client and co-counsel.
 01/29/24   EJM        Review motion re extension or exclusivity.                       0.20   825.00      165.00
 01/31/24   EJM        Emails with co-counsel and review plan documents.                1.30   825.00    1,072.50
 01/31/24   JSL        Review amended plan.                                             0.60   465.00      279.00
 01/31/24   BMK        Review modified plan and emails regarding same.                  1.30   790.00    1,027.00

                          Task Code Subtotal                                            3.70             2,745.00

 B430A Court Hearings: Attendance and Preparation
 01/10/24   BMK        Attend hearing.                                                  0.30   790.00     237.00
 01/10/24   BMK        Prepare for and attending hearing.                               0.80   790.00     632.00

                          Task Code Subtotal                                            1.10              869.00


                                                                                     Sub-Total Fees:    16,289.50


For Disbursements through January 31, 2024
                                                  Disbursements

 Date       Description                                                                                  Amount
 01/03/24   Reliable Wilmington - (Production) 12/22/23 Service                                            12.23
 01/03/24   Reliable Wilmington - (Transcript) 12/11/23 Hearing Transcript                                 12.15
 01/04/24   Pacer Research                                                                                 89.20
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 Date       Description                                                                         Amount
 01/04/24 Pacer Research                                                                         197.10
 01/23/24 Reliable Wilmington - (Transcript) 1/10/24 Hearing Transcript                           80.25
 Total Disbursements                                                                             390.93


 Total Services and Disbursements this period                                                 $16,680.43
 Balance Due                                                                                  $16,680.43
